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                             UNITED STATES COURT OF APPEALS                                       KP
                                FOR THE ELEVENTH CIRCUIT
                                                                                     Jun 23, 2022
                                ELBERT PARR TUTTLE COURT OF APPEALS BUILDING
                                              56 Forsyth Street, N.W.
                                              Atlanta, Georgia 30303                                 Miami



   David J. Smith                                                              For rules and forms visit
   Clerk of Court                                                              www.ca11.uscourts.gov
                                             June 23, 2022

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   Appeal Number: 22-11873-F
   Case Style: Angel Guzman, et al v. Robinhood Markets, Inc., et al
   District Court Docket No: 1:21-md-02989-CMA

   Please use the appeal number for all filings in this court.
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   Electronic Filing
   All counsel must file documents electronically using the Electronic Case Files ("ECF") system,
   unless exempted for good cause. Although not required, non-incarcerated pro se parties are
   permitted to use the ECF system by registering for an account at www.pacer.gov. Information
   and training materials related to electronic filing are available on the Court's website.

   Certificate of Interested Persons and Corporate Disclosure Statement ("CIP")
   Every motion, petition, brief, answer, response, and reply must contain a CIP. See FRAP 26.1;
   11th Cir. R. 26.1-1. In addition:

      •   Appellants/Petitioners must file a CIP within 14 days after this letter's date.
      •   Appellees/Respondents/Intervenors/Other Parties must file a CIP within 28 days after
          this letter's date, regardless of whether Appellants/Petitioners have filed a CIP.
      •   Only parties represented by counsel must complete the web-based CIP. Counsel must
          complete the web-based CIP, through the Web-Based CIP link on the Court's website,
          on the same day the CIP is first filed.

   The failure to comply with 11th Cir. Rules 26.1-1 through 26.1-4 may result in dismissal of the
   case or appeal under 11th Cir. R. 42-1(b), no action taken on deficient documents, or other
   sanctions on counsel, the party, or both. See 11th Cir. R. 26.1-5(c).

   Civil Appeal Statement
   Appellants and Cross-Appellants must file a Civil Appeal Statement, which is available on the
   Court's website, within 14 days after this letter's date. See 11th Cir. R. 33-1(a).

   Attorney Admissions
   Attorneys who wish to participate in this appeal must be properly admitted either to the bar of
   this court or for this particular proceeding, See 11th Cir. R. 46-1; 46-3; 46-4. In addition, all
   attorneys (except court-appointed attorneys) who wish to participate in this appeal must file an
   appearance form within fourteen (14) days after this letter's date. The Application for
   Admission to the Bar and Appearance of Counsel Form are available on the Court's website.
   The clerk generally may not process filings from an attorney until that attorney files an
   appearance form. See 11th Cir. R. 46-6(b).

   Defaults
   Pursuant to 11th Cir. R. 42-1(b), this appeal will be dismissed after 14 days and without
   further notice unless the following default(s) have been corrected:

   Transcript Information Form
   Pursuant to FRAP 10(b), the appellant must, within 14 days, file a Transcript Information Form,
   which is available on the Court's website. See FRAP 10(b)(1); 11th Cir. R. 10-1. Unless a
   transcript is ordered, the appellant's brief is due 40 days after June 3, 2022. See 11th Cir. R. 12-
   1 and 31-1.

   Obligation to Notify Court of Change of Addresses
   Each pro se party and attorney has a continuing obligation to notify this court of any changes to
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   the party's or attorney's addresses during the pendency of the case in which the party or attorney
   is participating. See 11th Cir. R. 25-7.

   Sincerely,

   DAVID J. SMITH, Clerk of Court

   Reply to: Dionne S. Young, F
   Phone #: (404) 335-6224
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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                           CASE NO. 21-2989-MDL-ALTONAGA/Torres

   IN RE:

   JANUARY 2021 SHORT SQUEEZE
   TRADING LITIGATION
   ____________________________________/

   This Document Relates to:

   ALL ANTITRUST ACTIONS

                                         NOTICE OF APPEAL

            Notice is hereby given that Plaintiﬀs Angel Guzman, Burke Minahan, Christopher Miller,

   and Terell Sterling (collectively, “Plaintiﬀs”), on behalf of themselves and others similarly

   situated, appeal to the United States Court of Appeals for the Eleventh Circuit from the ﬁnal

   Order entered on May 13, 2022 [ECF No. 470], which grants Defendants Robinhood Markets,

   Inc., Robinhood Financial LLC, Robinhood Securities, LLC and Citadel Securities LLC’s

   Motion to Dismiss the Amended Antitrust Tranche Complaint [ECF No. 456], and dismisses

   Plaintiﬀs’ Amended Consolidated Class Action Complaint [ECF No. 451] with prejudice. A copy

   of the order is attached as Exhibit A hereto.




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